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July 23, 2021
Dear Sirs, Mesdames

Greetings:

The purpose of this letter is personally to vouch for our dear friend MR. Robert Bauer or we love calling
him "Bob”. We met him and his very supportive and loving wife Jenny Bauer through our friends in one
of the gatherings if my memory serves was 2016. Since then our friendships nourished and we treated

each other as family as of this time and always.

For us Bob is just a simple hardworking quiet guy he loves FISHING and his very good at it. Listening to
gospel words and gospel songs are also his favorite, he loves his family dearly. He always has open
hands to help others to the best of his abilities. We support and respect each other whatever the
situations. We are so blessed and grateful because he became part of our lives.

We are hoping and praying that this letter would help Bob whatever the desires of his heart let it be
grant to him.

Thank you very much.

Respectfully yOurs,

 
 
  

S NORIE BARRICK

STATE OF KENTUCKY
CITY OF GLASGOW

COUNTY OF BARREN ‘
th
Subscribed and sworn before me this le day of ¢ July 2021

Notary SVU

My Commission Expires lo - a6 -Jd¢

utility,
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17 July 2027

Soencer Waiters

410 Bedford Court
Horse Cave. KY 42749
(Z270)-537-3030

scw T06@amail.com
yo whom it mav concern.
Niv name is Spencer Waiters.

| have been a friend of Bob Bauer over the past five vears through a aroun of men in the community that have

married Filipina’s.

i understand that Bob must attend court over charaes reaardina January 6". 2021. at the Capitol. He is upset about
the charae. and | believe he is sorry for beina there and wish he had never aone.

4e has been under stress due to the loss of his iob and the charaes held aaainst him. Even though he has lost his iob
and aone throuch these hardships he has continued his education not jet anvihina aet in the wav of betterina himself.

{ can sav that in ail the time i have known him. Bob Bauer has been a friendiv. hardworkina. and trustworthy person. |
believe anv behavior he disvlaved that caused him to be charaed was not acaression towards anvone. He would noi
cause harm to anvone. and | believe he was in the wrona piace at the wrona time. Bob Bauer is a aood man and
should not be made an exampie out of because of other people or political aaenda.

Yours faithtuliv.

opi Ubliong

Soencer Waiters
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July 15, 2021

To Whom It May Concern:

RE: ROBERT “BOB” BAUER

I am writing this letter in reference to Robert “Bob” Bauer. My husband and
I got to know Bob for more than 5 years now since he married a fellow Filipina,,
Jena Dale Bauer and since then we have been around with him/them on
numerous occasions during parties in our house or other friends’ houses.

Bob is a jolly, friendly person and no dull moments when he is around. He is
smart, hardworking and dedicated husband. He loves to fish during his spare

times, work out, walking at the trails with his wife during their free time.

To the best of my knowledge Bob is a good person, a good husband, a good
friend, and he can get along well with everybody.

I am praying this letter will help him in anyway it may serve.

Opn le

Leonor Bowles
